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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 DEMETRIA MARIE BARRETT,
                                                      CIVIL COMPLAINT
              Plaintiff,

 v.                                                   CASE NO. 1:17-cv-03251

 MEDICREDIT, INC.,
                                                      DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes DEMETRIA MARIE BARRETT (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MEDICREDIT, INC.

(“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq., and the Texas Debt Collection Act (“TDCA”) under Tex. Fin. Code

Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law claim pursuant to 28 U.S.C. §1367.




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   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Texas and a substantial portion the events or omissions giving rise to

the claims occurred within the Northern District of Texas.

                                              PARTIES

   4. Plaintiff is a 40 year old natural “person,” as defined by 47 U.S.C. §153(39).

   5. Defendant is a collection agency focused exclusively on medical and healthcare debts with

its headquarters located in St. Louis, Missouri. Defendant is registered at 1999 Bryan Street, Suite

900, Dallas, Texas, and makes collection calls in all states.

   6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   8.   In approximately July 2017, Plaintiff began receiving calls to her cellular phone, (972)

XXX-5215, from Defendant.

   9. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 5215. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   10. Defendant has mainly used the phone number (800) 823-2318 when placing calls to

Plaintiff’s cellular phone, but upon belief, it has used other numbers as well.

   11. Upon information and belief, the above referenced phone number ending in 2318 is

regularly utilized by Defendant during its debt collection activity.




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    12. Upon answering phone calls from Defendant, Plaintiff experiences a noticeable pause,

lasting several seconds in length, before a live representative begins to speak.

    13. Plaintiff has never had any business relationship with Defendant nor has she ever given it

permission to call her cellular phone, so Plaintiff was confused as to why Defendant was contacting

her.

    14. Upon speaking with Defendant, Plaintiff is informed that it is acting as a debt collector

attempting to collect upon a debt (“subject debt”) said to be owed by a “Shirley Parsons.”

    15. Ms. Parsons is Plaintiff’s deceased mother.

    16. Plaintiff informed Defendant that she was Ms. Parson’s daughter and that it would be

impossible for Defendant to speak with Ms. Parsons since she has passed away.

    17. Plaintiff also asked that Defendant stop calling.

    18. Despite Plaintiff’s request and the information provided to Defendant, Defendant

continued placing regular phone calls to Plaintiff’s cellular phone.

    19. During subsequent conversations, Plaintiff reiterated that her mother was no longer alive

and for Defendant to cease contacting her.

    20. Notwithstanding Plaintiff’s repeated efforts to address Defendant’s conduct, Defendant

continued placing phone calls to Plaintiff’s cellular phone up until the filing of the instant action.

    21. Plaintiff has received not less than 20 phone calls from Defendant since asking it to stop

calling.

    22. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    23. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.




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      24. Defendant’s phone calls have been particularly distressing to Plaintiff since each call has

    served as a constant reminder of her mother’s passing, further exacerbated by the repeated times

    she has had to explain this fact to Defendant.

      25. With the goal of specifically addressing Defendant’s conduct, Plaintiff has expended

    approximately $58.00 to purchase and maintain an application on her cellular phone to help quell

    Defendant’s calls. However, the communications have continued.

      26. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

    limited to, invasion of privacy, aggravation that accompanies collection telephone calls intended

    for her deceased mother, emotional distress, increased risk of personal injury resulting from the

    distraction caused by the never-ending calls, increased usage of her telephone services, loss of

    cellular phone capacity, diminished cellular phone functionality, decreased battery life on her

    cellular phone, and diminished space for data storage on her cellular phone.


              COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

      27. Plaintiff repeats and realleges paragraphs 1 through 26 as though full set forth herein.

      28. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

      29. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

      30. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others. Defendant identifies itself as a debt collector and has been a member of the

Association of Credit and Collection Professionals since 2007.1




1
    http://www.acainternational.org/search#memberdirectory

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   31. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

       a. Violations of FDCPA §1692b & c(b)

   32. The FDCPA, pursuant to 15 U.S.C. §1692b, prohibits a debt collector from

“communicating with any person other than the consumer for the purpose of acquiring location

information about the consumer.” Additionally, under §1692b(3), a debt collector “shall not

communicate with any such person more than once unless requested to do so by such person or

unless the debt collector reasonably believes that the earlier response of such person is erroneous

or incomplete and that such person now has correct or complete location information.”

Furthermore, under §1692c(b), “without the prior consent of the consumer given directly to the

debt collector…a debt collector may not communicate, in connection with the collection of any

debt, with any person other than the consumer, his attorney, a consumer reporting agency…the

attorney of the creditor, or the attorney of the debt collector.”

   33. Defendant violated §1692b, b(3), and c(b) by contacting Plaintiff on a number of occasions

seeking to collect upon a debt for Shirley Parsons. Plaintiff explicitly notified Defendant that she

was not the individual it was looking for, that the individual it was seeking had since passed away,

and demanded that it stop calling her. Defendant had more than enough information to know that

the number it was calling did not belong to Ms. Parsons. Armed with this information, Defendant

still continued to call Plaintiff’s cellular phone multiple times without her consent.

       b. Violations of FDCPA §1692c(a)(1) and §1692d

   34. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring



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or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.”

   35. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being

notified to stop and that Plaintiff was not the underlying debtor. Defendant called Plaintiff at least

20 times after she demanded that it stop and after becoming aware that Plaintiff was not the party

it was seeking. This repeated behavior of systematically calling Plaintiff’s phone in spite of her

demands was harassing and abusive. The frequency and volume of calls shows that Defendant

willfully ignored Plaintiff’s pleas with the goal of annoying and harassing her.

   36. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to her.

         c. Violations of FDCPA § 1692e

   37. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   38. In addition, this section enumerates specific violations, such as:

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   39. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. Defendant repeatedly contacted the wrong party seeking to

collect upon a debt, and was even notified by Plaintiff that the party it was seeking could not be

reached and to stop calling. Nevertheless, Defendant called Plaintiff at least 20 times in a deceptive

attempt to force her to answer its calls and ultimately make a payment, even though Plaintiff was

not the debtor. Through its conduct, Defendant misleadingly represented to Plaintiff that it had the



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legal ability to contact her via an automated system when, not only did it not have consent in the

first place, but was also subsequently told to stop calling.

        d. Violations of FDCPA § 1692f

   40. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   41. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff over 20 times asking to speak with an individual who was

not Plaintiff. Defendant repeatedly asked to speak with an individual who it knew to be deceased.

Attempting to coerce Plaintiff into payment by placing voluminous phone calls after becoming

privy to the fact that it is contacting the wrong person and being told to stop calling is unfair and

unconscionable behavior. These means employed by Defendant only served to worry, distress, and

confuse Plaintiff.

   42. As pled in paragraphs 21 through 26, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, DEMETRIA MARIE BARRETT, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.



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          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   43. Plaintiff repeats and realleges paragraphs 1 through 42 as though fully set forth herein.

   44. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   45. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The noticeable pause, lasting several seconds in length, which Plaintiff

experiences during answered calls from Defendant is instructive that an ATDS is being utilized to

generate the phone calls. Moreover, the nature and frequency of Defendant’s contacts points to

the involvement of an ATDS.

   46. Defendant violated the TCPA by placing at least 20 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Plaintiff has never had any business relationship with

Defendant nor has she given it permission to call her cellular phone. Defendant was calling

Plaintiff’s cellular phone looking for Plaintiff’s mother. As such, Plaintiff could not have given

Defendant consent to contact her. Even if Defendant did have a legitimate business reason for

initially contacting Plaintiff, which it did not, she explicitly revoked any consent by her demands

that Defendant cease contact.

   47. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   48. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

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should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, DEMETRIA MARIE BARRETT, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


               COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   49. Plaintiff restates and realleges paragraphs 1 through 48 as though fully set forth herein.

   50. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   51. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).

   52. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   53. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”




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   54. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

20 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately make a payment upon a debt for

which she was not responsible. The nature and volume of phone calls would naturally cause an

individual to feel oppressed.

   55. Upon being told to stop calling and that the subject of its contact efforts was deceased,

Defendant had ample reasons to be aware that it should not continue its harassing conduct. Yet,

Defendant consciously chose to continue placing calls to Plaintiff’s cellular phone.

   WHEREFORE, Plaintiff, DEMETRIA MARIE BARRETT, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.




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Dated: November 30, 2017                          Respectfully submitted,

s/ Nathan C. Volheim                              s/Taxiarchis Hatzidimitriadis
Nathan C. Volheim, Esq. #6302103                  Taxiarchis Hatzidimitriadis, Esq. #6319225
Counsel for Plaintiff                             Counsel for Plaintiff
Admitted in the Northern District of Texas        Admitted in the Northern District of Texas
Sulaiman Law Group, Ltd.                          Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200               2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                           Lombard, Illinois 60148
(630) 568-3056 (phone)                            (630) 581-5858 (phone)
(630) 575-8188 (fax)                              (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                          thatz@sulaimanlaw.com




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